Case 1:07-ap-01186-GM Doc1_ Filed 08/20/07 Entered 08/20/07 16:54:38

Main Document Page 1 of 25

STEVEN T. GUBNER - State Bar No. 156593
RICHARD D. BURSTEIN ~ State Bar No. 56661
BARAK VAUGHN - State Bar No. 227926

Desc

EZRA | BRUTZKUS | GUBNER LLP
21650 Oxnard Street, Suite $00
Woodland Hills, California 91367
Telephone: (818) 827-9000

Facsimile: (818) 827-9099

Attorneys for David R. Hagen, Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA

SAN FERNANDO VALLEY DIVISION

In re

MERIDIAN HEALTH CARE
MANAGEMENT, INC... a Delaware
Corporation,

Tax ID: XX-XXXXXXX

Debtor.

DAVID R. HAGEN, Chapter 7 Trustee,

Plaintil,
VS.

NAUTIC PARTNERS, LLC, a Delaware
Limited Liability Corporation;
CHISHOLM PARTNERS IV, LP; a
Delaware Limited Partnership: FLEET
VENTURE RESOURCES, INC.: a
Delaware Limited Liability Corporation;
FLEET EQUITY PARTNERS VI LP: a
Delaware Limited Partnership;
KENNEDY PLAZA PARTNERS I],
LLC; a Limited Liability Corporation;
SCOTT HILINSKI; a Individual, BRIAN
SATO, an Individual, MICHAEL ALPER,
an Individual; E4E, INCORPORATED; a
Delaware Corporation;
FAMILY/SENIORS MEDICAL GROUP,
a California Professional Medical
Corporation; INC.; NORTHRIDGE
MEDICAL GROUP, INC., a California
Professional Medical Corporation,

Defendants.

Case No. SV 06-10733-GM
Chapter 7

Adv, No.

COMPLAINT FOR:

1, AVOIDANCE AND RECOVERY OF
STATE LAW FRAUDULENT
CONVEYANCES CALIFORNIA
CODE CIVIL CODE §8§
3439.04(a)(1), 3439.04 (a}(2) and
3439.05;

2, AVOIDANCE OF FRAUDULENT
TRANSFERS PURSUANT TO 11
ULS.C. §544 er seq.;

3, AVOIDANCE OF FRAUDULENT
TRANSFERS PURSUANT TO 11
U.S.C, §548 ef seq.:

4, AVOIDANCE OF FRAUDULENT
TRANSFERS PURSUANT TO 11
U.S.C. § 350 ef seq.;

5. AVOIDANCE OF PREFERENTIAL
TRANSFERS;

6. FOR RECOVERY OF AVOIDED
TRANSFERS PURSUANT TO 11
U.S.C, 550;

7. TURNOVER OF PROPERTY
PURSUANT TO 11 ULS.C. 542;

8. BREACH OF FIDUCIARY DUTIES;

9. AIDING AND ABETTING BREACH
OF FIDUCIARY DUTY;

10. AIDING AND ABETTING FRAUD

11, NEGLIGENCE

12. DECLARATORY RELIEF

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document Page 2 of 25

Date: [To Be Set By Court]
Time:
Place:

Mange age See” ge ne Same ne me ge Se

PLAINTIFF ALLEGES:

TO DEFENDANTS, NAUTIC PARTNERS, LLC, CHISHOLM PARTNERS IV, LP;
FLEET VENTURE RESOURCES, INC.; FLEET EQUITY PARTNERS VI LP; KENNEDY
PLAZA PARTNERS II, LLC, SCOTT HILINSKI, BRIAN SATO; MICHAEL ALPER; E4E,
INCORPORATED, FAMILY/SENIORS MEDICAL GROUP; NORTHRIDGE MEDICAL
GROUP, INC.; AND TO ALL OTHER INTERESTED PARTIES:

1. On or about May 16, 2006, the above-captioned debtor, MERIDIAN HEALTH
CARE MANAGEMENT, INC. (the “Debtor” filed a voluntary petition under Title 7 of the
United States Code (the “Petition Date’).

2. On or about May 16, 2006, DAVID R. HAGEN (“Trustee”) was duly appointed
pursuant to Court Order as the acting Chapter 7 Trustee and remains so. The Trustee brings this
Adversary Proceeding in his capacity as Trustee.

3. This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§
157(b)(1) and 1334(a) and General Order No. 242-A of the District Court for the Central District
of California, as this is a core proceeding under 28 U.S.C. § 157(b}2)(F) and (H). Venue
properly lies in this judicial district pursuant to 28 U.S.C. § 1409(a), in that the instant
proceeding is related to the Debtor's case under Title 7 of the United States Code that is still
pending.

4, The instant complaint (the "Complaint’) initiates an adversary proceeding (the
“Adversary Proceeding”) in which the Plaintiff is seeking to recover for the benefit of the Estate
monies paid by the Debtor (collectively the “Property”) transferred by the Debtor (collectively,
the Transfer”) to the Defendants on or about December 2005 and thereafter and on the facts and

claims alleged herein below.

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document Page 3 of 25

GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

5, The Debtor, at all relevant times herein, was a Delaware corporation with its
offices and principal place of business in Woodland Hills, County of Los Angeles, State of
California and was engaged in the business of providing operations, management and
administrative services for independent medical practice associations. Prior to July 1999, the
Debtor's predecessor in interest, Meridian Health Care Management, LP (“Meridian LP”), was a
Delaware limited partnership with its offices and principal place of business in the County of Los
Angeles, State of California.

6. The Trustee is informed and believes and based thereon alleges that Defendant
NAUTIC PARTNERS, LLC, at all relevant times herein was a Delaware limited liability
corporation with its principal place of business in Providence, Rhode Island, specializing in the
formation and structuring of, investment in, participation in, and management of, among others,
companies engaged in providing health care administration and management of services in
California and other locations throughout the United States, and the successor in interest of Fleet
Equity Partners ( collectively, “Nautic”).

7. The Trustee is informed and believes and based thereon alleges that Defendants
CHISHOLM PARTNERS IV, LP (“Chisholm”) and FLEET EQUITY PARTNERS VI, LP
(“Fleet Equity”), at all relevant times herein were Delaware corporation and Defendant
KENNEDY PLAZA PARTNERS II, LLC, at all relevant times herein was a Delaware limited
liability company (“Kennedy”). Chisholm, Fleet Equity, Fleet Venture and Kennedy
(collectively, with Nautic and Defendant Scott Hilinski, referred to herein as the “Nautic
Defendants”) each at all relevant time herein had offices and principal places of business in
Providence, Rhode Island.

8. The Trustee is informed and believes and based thereon alleges that Defendant
SCOTT HILINSKI was at all relevant times herein a Managing Director of Nautic, concentrating
on its healthcare operations. In addition, from mid-1999 through the sale of the Debtor to E4E,
Inc, in or about December 2005, Hilinski was a member of the Board of Directors of the Debtor,
and was appointed to represent the interests of the Nautic Defendants on Debtor’s Board of

3

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

—~PoO mh

Main Document Page 4 of 25

Directors. In each and every act alleged herein, Hilinski was acting within the course and scope
of his actual, ostensible, apparent agency and/or the employ of the Debtor, and the Trustee is
informed and believes and on that basis alleges that Hilinski at all times relevant herein also
acted within the course and scope of his actual, ostensible, apparent and/or implied authority as a
director, officer, agent and/or employee of the other Nautic Defendants and each of them, and
with their knowledge, permission, acquiescence and consent.

9. The Trustee is informed and believes and based thereon alleges that Defendant
MICHAEL ALPER (‘Alper’) at all relevant times herein was the President and Chief Executive
Officer of the Debtor, as well as a member of the Debtor’s Board of Directors. Alper, in the acts,
conduct and events set forth in this Complaint, at all relevant times acted within the course and
scope of his actual, ostensible, apparent and/or implied authority as a director, officer, agent
and/or employee of the Debtor.

10. The Trustee is informed and believes and based thereon alleges that Defendant
BRIAN SATO (“Sato”) at all relevant times herein was the Chief Financial Officer of the
Debtor, as well as a member of the Debtor’s Board of Directors. Sato, in the acts, conduct and
events set forth in this Complaint and at all relevant times acted within the course and scope of
his actual, ostensible, apparent and/or implied authority as a director, officer, agent and/or
employee of the Debtor with permission, acquiescence and consent, and with apparent authority
and agency conferred on him by Hilinski and the Nautic Defendants.

ll. ‘The Trustee is informed and beheves and on that basis alleges that Defendant
E4E, INCORPORATED ("E4E") is a corporation organized under the laws of Delaware with its
principal place of business in Santa Clara, California. E4E purchased, through a reverse
triangular merger, all assets and liabilities of the Debtor.

12. The Trustee is informed and believes and on that basis alleges that Defendant
FAMILY/SENIORS MEDICAL GROUP, INC.. ("FS") was at all times herein a California
Professional Medical Corporation with its corporate headquarters in Woodland Hills, County of
Los Angeles, State of Califormia, operating as an independent medical practice association

providing medical services.

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 5 of 25

I 13. ~The Trustee is informed and believes and on that basis alleges that Defendant
2 NORTHRIDGE MEDICAL GROUP, INC, ("NMG") was at all times relevant hereto, and is, a
3 California Professional Medical Corporation with its principal place of business in Northridge,
41 California, County of Los Angeles, State of California, operating as an independent medical
3 practice association providing medical services.
14. The Trustee is informed and believes and based thereon alleges that in or about

July 1999, the Nautic Defendants, by and through Defendant Hilinski, who was the Managing

8 Director of Nautic and controlled its health care operations, and Debtor’s predecessor, Meridian

9 | LP. together with Defendants Alper and Sato, among others, entered into a scheme and plan for
10 | the Debtor to be formed to assume the business operations and assets of Meridian LP and for the
1 Nautic Defendants concurrently to become primary investors in, and to participate in the
12 | management. control and operation of what became the Debtor (“Meridian Investment”).
13 15. The Trustee is informed and believes and based thereon alleges that in or after
I4 1999, Defendant Hilinski had primary responsibility for monitoring the Meridian Investment and
15 served as a director of the Debtor on behalf of the Nautic Defendants until the Debtor’s assets
16 | were sold to Defendant E4E in December 2005. In addition, Defendant Hilinski used his
17 | position as a director of the Debtor to perform his monitoring function for the Nautic Defendants
18 portfolio, applying as well the information he obtained from his position at the Debtor in his
19 | ongoing involvement in the health care industry.
20 16. The Trustee is informed and believes and based thereon alleges that on or about
21 July 24, 1999, the Debtor was incorporated and on or about July 26, 1999, the Debtor and the
22 Nautic Defendants entered into certain agreements under which the Nautic Defendants acquired
23] all of the issued and outstanding preferred stock of the Debtor as well as the subordinated debt
24) issued to them by the Debtor in the principal amount of $3,750,000.00.
25 17, The Trustee is informed and believes and based thereon alleges that from its
26 | incorporation until and through 2005, the Debtor entered into numerous agreements with health
27 care providers, including, but not limited to, independent medical practice associations such as
28 FS and NMG, whereby the Debtor agreed to provide management, administrative and related

5

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 6 of 25

| services to those various health care providers. Pursuant to such agreements, the Debtor, its
2 Directors and Officers, and its Controlling shareholder, the Nautic Defendants, obtained and
3 exercised operational control over certain bank accounts, revenues and funds of those various
4 health care providers.
5 18. The Trustee is informed and believes and based thereon alleges that beginning in
6 mid-2003, the Debtor began experiencing financial difficulty, and during the period from June
71 through September 2003, lost significant customer accounts resulting in significant financial
8 losses and negative cash flow, and that Defendant Hilinski (then Chairman of the Audit and
9 | Compensation Committees of the Debtor’s Board of Directors), as well as Defendants Alper and
10 | Sato, were aware of and discussed the foregoing events.
11 19, The Trustee is informed and believes and based thereon alleges that in or about
12 1 October 2003, Defendants Hilinski, Alper and Sato had a telephonic discussion regarding the
13 Debtor’s financial position and cash flow shortages. On the October 2003 telephonic

141 conversation, the following discussion occurred:

15 a. Defendant Alper requested that the Nautic Defendants provide additional
16 infusion of several million dollars to the Debtor, which Hilinski

17 immediately refused on behalf of the Nautic Defendants; and

18 b. Defendants Hilinski (as the representative for the Nautic Defendants),

19 Alper and Sato discussed alternative ways of meeting the Debtor’s cash

20 flow needs, and adopted a scheme and plan to embezzle, stea] and convert
21 funds from various customer accounts, which Defendants lacked any color
22 of right to, in order to provide cash for the benefit of the Debtor and the

23 Nautic Defendants.

24 20. The Trustee is informed and believes and based thereon alleges that from about

25 October 2003 through discovery of said fraudulent scheme in or about December 2005, the

26 Defendants, Alper, Sato, Hilinski, and the Nautic Defendants pursued and furthered this scheme
27 of converting funds from their various health care provider accounts over which the Debtor had
28 control, but which the Debtor had not earned and was not in any way entitled to receive. The

6

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 7 of 25

l scheme was created by such Defendants to provide cash to cover the negative cash flow of the

2 | Debtor in the hopes of staving off the demise of the Debtor for their own financial gain.

3 21. The Trustee is informed and believes and based thereon alleges that at and before
41 the time Defendants adopted the above referenced fraudulent scheme and plan, the Debtor

5 experienced negative cash flow averaging $350,000.00 per month. The Debtor’s cash flow

6 shortages prevented the Debtor from repayment of its debit and stock redemption obligations to
7 the Controlling Shareholders, including. but not limited to, the Nautic Defendants, when they

8 became due in mid-2004. Indeed, Defendant Hilinski knew that the Debtor’s financial condition
9 || was “not healthy” and was fully advised as to “the decline of the Debtor’s active clients from

10 | August 2003 to March of 2005.”

II 22. ‘The Trustee is informed and believes and based thereon alleges that pursuant the
12 aforementioned scheme, such Defendants, directly through Sato, Alper, Hilinski, and the Nautic

13 Defendants as the Defendants representatives and agents, did the following:

14 a. Knowingly misappropriating more than $9,000,000.00 in funds entrusted
15 to and under the control of the Debtor;

16 b. Falsely representing the financial condition, business operations and

17 liabilities of the Debtor, among other means, by causing improper and

18 fatse entries to be made to various health provider client accounts and

19 concealing the actual balances in the client’s various fund accounts to hide
20 the misappropriation of funds; and

2] c. Interrupting and discontinuing the annual audits (per the direction of

22 Defendant Hilinski) for the year ending December 2003 (the first year of
23 the scheme) and each year thereafter, and failed to put in place adequate or
24 prudent financial controls for the Debtor.

25 23. The Trustee is informed and believes and based thereon alleges that in the

26 absence of any new customers or new ways to generate a positive cash flow, the Defendants
27 | went forward with their scheme, which continued a strategy of producing false income
28 statements and financials for the purpose of selling the Controlling Shareholders’ position in the

7

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document Page 8 of 25

Debtor to a third party. In fact, the Plaintiff is informed and believes, and therefore alleges, that
Defendant Hilinski stated that the loss by the Debtor of PacifiCare in 2003 was a “big issue”
which “might have been a factor in the decision to sell the Debtor.”

24. The Trustee is informed and believes and based thereon alleges that defendant
Hilinski and Nautic Defendants in perpetuating this fraud concerning Debtor’s financial
condition on its clients and potential third party suitors, also did the following:

a, Hilinski took a leading role and active part in the negotiations with E4E
culminating in the sale of both Hilinski’s own personal investment and the
Controlling Shareholders’ (including Nautic) interests;

b. Hilinski interjected himself in dealing with Debtor’s relationship with
Bank of America regarding its loan with the Debtor, in negotiating the
payoff of the loan as part of the E4E transaction as well as addressing the
bank's concerns and avoiding having the bank call the loan, which would
have hurt the E4E transaction.

25. The Trustee is informed and believes and based thereon alleges that through
Hilinski’s acts and omissions, the E4E transaction was consummated in December of 2005, with
direct payoffs to only the Controlling Shareholders including the Nautic Defendants of
approximately $6,100,000.00, plus an additional $1,270,000, for the payoff of the Bank of
America loan and ahead of all other creditors. Further, Defendants Alper and Sato received
performance "bonuses" from the Nautic Defendants as a result of helping to consummate the sale
to E4E. (Hereinafter the payoffs to the Controlling shareholders and bonuses to the Officers and
Directors are referred to as “Proceeds"). The E4E transaction was structured by the Defendants
in such a fashion as to result in claims by E4E against the Debtor for material misrepresentation

after the Defendants realized the benefits alleged.

FIRST CLAIM FOR RELIEF

(To Avoid Actual Fraudulent Transfers Pursuant to California Civil Code § 3439.04(a)(1)
Against Defendants Alper, Sato, Hilinski and Nautic Defendants)

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page Q of 25

I 26, The Trustee repeats and re-alleges and incorporates herein by reference the

2 allegations in paragraphs | through 25 above, as if set forth in full herein.

3 27, The Trustee is informed and believes and based thereon alleges that the Debtor,
41 Alper, Sato, Hilinski and the Nautic Defendants made the Transfer with the actual intent to

5 delay. hinder or defraud the Debtors creditors.

6 28. Interest on the Transfers has accrued and continues to accrue from the date that
7 the Transfers were made.

8 29, By reason of the foregoing, the Transfers, and each of them, are avoidable

9 pursuant to Bankruptcy Code § 544(b) and Cal. Civ. Code § 3439.04(a)(1).

SECOND CLAIM FOR RELIEF

0 (To Avoid Fraudulent Transfers Pursuant to 11 U.S.C. § 544(b) and California Civil
Code §§ 3439,.04(a)(2) and 3439.05 Against Alper, Sato, Hilinski and Nautic Defendants)

13 30. The Trustee repeats and re-alleges and incorporated herein by reference the

14 allegations in paragraphs | through 29 above, as of set forth in full herein.

15 31. The Trustee is informed and believes and based thereon alleges that the Debtor

16 | did not receive reasonably equivalent value in exchange for the Transfers and that the Debtor

17 | was insolvent or became insolvent as a result of the Transfers, and despite its interest in the

18 Transfers, the Debtor was wholly excluded from receiving any of the Transfers, compensation
19 | value, or the like in exchange for the Transfers.

20 32. The Trustee is informed and believes and thereon alleges that the Debtor did not
21 receive reasonably equivalent valuc in exchange for the Transfers and (1) was engaged in or was
22 about to engage in a business or transaction for which its remaining assets were unreasonably

23 small in relation to the business or transaction; or (4i) the Debtor intended to incur, or believed
24 1 that it would incur, debts beyond its ability to pay as they became due.

25 33. The Trustee is informed and believes and based thereon alleges that at all relevant
26 times, the Transfers of the Debtor’s interest in the Transfers were voidable by a creditor of the
27 | Debtor, under, without limitation, California Civil Code §§ 3439.04(a)(2) and 3439.05 and under

28 Bankruptcy Code § 544(b).

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document Page 10 of 25

34, The Trustee is informed and believes and based thereon alleges that the Debtor
had unsecured creditors of the Estate whose claims existed at the time the Transfers of the
Debtor’s interest in the Transfers and hold allowable claims under Bankruptcy Code § 502.

35, Interest on the Transfers has accrued and continues to accrue from the date that
the transfers were made.

36, The Trustee is entitled to an order and judgment under, without limitation,
Bankruptcy Code §§ 544(b) and California Civil Code &§ 3439.04(a)}(2) and 3439.05 that the

release of the Transfers, and each of them, are avoided.

THIRD CLAIM FOR RELIEF

(Avoidance of Fraudulent, Actual Intent Pursuant to Bankruptcy Code 11 U.S.C. § 548(a)(1)(A)
Against Alper, Sato, Hilinski, and Nautic Defendants)

37. The Trustee repeats and re-alleges and incorporates herein by reference the
allegations in paragraphs | through 36 above, as if set forth in full herein.

38, The Trustee is informed and believes and thereon alleges that the Debtor, Alper,
Sato, Hilinski and the Nautic Defendants entered into an agreement to Transfer Debtor’s
property with the actual intent to hinder, delay, or defraud the Debtor’s creditors and in an effort
to place the Debtor's interest in the Transfers constituting assets of value, or the proceeds
thereof, outside the reach of the Debtor’s creditors,

39. Interest on the Transfers has accrued and continues to accrue from the date that
the Transfers were made.

40, By reason of the foregoing, the Transfers, and each of them, are avoidable

pursuant to section 548(a)(1)(A).

FOURTH CLAIM FOR RELIEF

(Avoidance of the Fraudulent Transfer, Constructive Intent (Insolvency)
Pursuant to Bankruptey Code 11 U.S.C. §548(a)(1)(B)G) and (11) Against Alper, Sato, Hilinski,
E4E and Nautic Defendants)

4]. The Trustee repeats and re-alleges and incorporates herein by reference the

allegations in paragraphs | through 40 above, as of set forth in full herein.

10

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document Page 11 of 25

42. The Trustee is informed and believes and based thereon alleges that the Debtor
did not receive reasonably equivalent value in exchange for the Transfers such that, despite its
interest in the Transfers, the Debtor was wholly excluded from receiving any of the proceeds,
compensation, value, or the like in exchange for the Transfers.

43. The Trustee is informed and believes and based thereon alleges that as a result of
the Transfers, the Debtor was (i} insolvent when the Transfers were made, or became insolvent
as a result of the Transfers; or (ii) was engaged in business or a transaction, for which the
property remaining with the Debtor was unreasonably small capital; or (iii) intended to incur, or
believed that the Debtor would incur debts that would be beyond the Debtor’s ability to pay as
such debts matured.

44. Interest on the Transfers of the Debtor has accrued and continues to accrue from
the date that the Transfers were made.

45, By reason of the foregoing, the Transfers are avoidable pursuant to Section

548(a}(1)(B)() and (ii).

FIFTH CLAIM FOR RELIEF

(Avoidance of Preferential Transfers Pursuant to Bankruptcy Code 11 U.S.C § 547(b)}
Against E4E, Alper, Sato, Hilinski and the Nautic Defendants)

46. The Trustee repeats and re-alleges and incorporates herein by reference the
allegations in paragraphs | through 45 above, as if set forth in full herein.

47, During the one year period prior to the Petition Date, the Debtor transferred its
interest in the Proceeds of the Transfers. During the 90 day period prior to the Petition Date, the
Debtor transferred its interest in the Transfers to the Defendants. The foregoing Transfers are
hereinafter collectively referred to as the “Avoidable Transfers.”

48, The Avoidable Transfers were to or for the benefit of the Defendants, creditors of
the Debtor.

49, The Avoidable Transfers were on account of an antecedent debt(s) owed by the

Debtor to Defendants before such transfers were made.

1]

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 12 of 25

i 50. ‘The Avoidable Transfers to the Defendants were made while the Debtor was

2 insolvent.

3 51. The Avoidable Transfers enabled the Defendants to recover more than they would
4 have received if (a) the Avoidable Transfers had not been made, and (b) the Defendants received
5 || payments of their debt to the extent provided by the provisions of Title 11 of the United States

6 Code.

7 52. By reason of the foregoing, the Avoidable Transfers should be avoided and set

8 aside as preferential and the money transferred should be returned to the Debtor.

10 SIXTH CLAIM FOR RELIEF

i (For Recovery of Avoided Transfers Pursuant to 11 U.S.C. § 550(a)
Against Defendants Alper, Sato, Hilinski and the Nautic Defendants)

12 53. The Trustee repeats and re-alleges and incorporates herein by reference the

13 allegations in paragraphs 1 through 45 above, as if set forth in full herein.
14 54. By reason of the foregoing, the Trustee is entitled to recover the Proceeds or their
15 value from Defendants Alper, Sato, Hilinski and the Nautic Defendants pursuant to Bankruptcy

16 | Cade § 550(a).
SEVENTH CLAIM FOR RELIEF

17
i8 (For Turnover of Property Pursuant to 11 U.S.C. § 542(a)
Against Defendants Alper, Sato, Hilinski and the Nautic Defendants)
19 55, The Trustee repeats and re-alleges and incorporates herein by reference the

20 1 allegations in paragraphs | through 45, as if set forth in full herein.
21 56. By reason of the foregoing, Defendants Alper, Sato, Hilinski and the Nautic

22 || Defendants are required to turnover the Proceeds to the Trustee pursuant to Bankruptcy Code §

23 | 542(a).
24
95 EIGHTH CLAIM FOR RELIEF
6 (For Breach of Fiduciary Duties Against
Defendants Alper, Sato, and Hilinski)
27 57. The Trustee repeats and re-alleges and incorporates herein by reference the

28 allegations in paragraphs 1 through 45 above, as if set forth in full herein.

12

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 13 of 25

I 58. By virtue of the relationships as Directors, Officers and Controlling shareholders
2 that existed between the Debtor and the above-referenced Defendants, and by virtue of the
3 Debtor having placed confidence in the express representations, fidelity, and integrity of the
4 above-referenced Defendants, and each of them, in entrusting the above-referenced Defendants
5 with acting on their own behalf, a relationship existed at all times relevant hereto between the
6 above-referenced Defendants and the Debtor.

7 59. Despite having voluntarily accepted the trust and confidence of the Debtor with

8 regard to operating its business and looking after the best interests of the Debtor, the above-

91) referenced Defendants abused the trust and confidence of the Debtor and their fiduciary

10 | relationship to the Debtor by failing to perform fully and competently their functions and duties

I in representing the Debtor’s interests in abiding by the Debtor’s contracts with third parties
12 and/or creditors and acting only for their self-benefit and advantage of the above-referenced

13 Defendants.

14 60. Asa proximate result of the above-referenced Defendants’ aforementioned breach
15 of fiduciary duties to the Debtor, the Debtor has been damaged in an amount according to proof
16] at trial, but which amount is believed and therefore alleged to be greater than $15 million dollars.

17 61. As a further proximate result of the above-referenced Defendants’ breach of their

18 | fiduciary duties herein alleged. the Trustee, on behalf of the Debtor, incurred and continues to
19 | incur costs to investigate said breach of fiduciary duties and the facts bringing rise to the said

20 | breaches of fiduciary duties including, but not limited to, review of state court proceedings,

21 declarations and depositions of Alper and Hilinski, the Debtor’s files and, further, to correspond

22 with the above-referenced Defendants concerning the allegations contained herein.
23 62. In doing the acts herein alleged, the above-referenced Defendants acted with
24 oppression, fraud, malice, and the Trustee, on behalf of the Debtor, is entitled to exemplary

25 and/or punitive damages,

264 ff
27 fis
28 | sy

13

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Oo st A

Main Document Page 14 of 25

NINTH CLAIM FOR RELIEF

(For Aiding and Abetting Breach of Fiduciary Duty Against
the Nautic Defendants only)

63. The Trustee repeats and re-alleges and incorporates herein by reference the
allegations in paragraphs t through 45 and 57 through 62 above, as of set forth in full herein,

64. The Trustee is informed and believes and based thereon alleges that there existed
a fiduciary relationship between Defendants Alper, Sato, Hilinski and the Nautic Defendants
(without the Nautic Group).and the Debtor.

65. The Trustee is informed and believes and based thereon alleges that despite
having voluntarily accepted the trust and confidence of the Debtor with regard to operating its
business and locking after the best interests of the Debtor, Defendants Alper, Sato, Hilinski and
the Nautic Defendants (without the Nautic Group) abused their trust and confidence of the
Debtor and their fiduciary relationship to the Debtor by failing to perform fully and competently
their functions and duties in representing the Debtor’s interests in abiding by the Debtor’s
contracts with third parties and/or creditors and acting only for their self-benefit and advantage
of the above-referenced Defendants.

66. The Trustee is informed and believes and based thereon alleges that the above-
referenced Defendant knowingly and actively participated in the above-referenced fraudulent
scheme as well as providing substantial assistance to the breaches of fiduciary duty by
Defendants Alper, Sato, Hilinski and the Nautic Defendants (without the Nautic Group).

67. Asa further proximate result of the above-referenced Defendant's aiding and
abetting of Defendants Alper, Sato, Hilinski and the Nautic Defendants (without the Nautic
Group) breaches of their fiduciary duties herein alleged, the Trustee, on behalf of the Debtor,
incurred and continues to incur costs to investigate said claims for aiding and abetting the breach
of fiduciary duties and the facts bringing rise to the said breaches of fiduciary duties including,
but not limited to, review of state court proceedings, declarations and depositions of Alper and
Hilinski, the Debtor’s files and, further, to correspond with the above-referenced Defendants

concerning the allegations contained herein.

14

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 15 of 25

1 68. In doing the acts herein alleged, the above-referenced Defendants acted with
2 oppression, fraud, malice, and the Trustee, on behalf of the Debtor, is entitled to exemplary

3 and/or punitive damages.

4 TENTH CLAIM FOR RELIEF
5 (For Aiding and Abetting Fraud Against
6 the Nautic Defendants only)

7 69. The Trustee repeats and re-alleges and incorporates herein by reference the

8 || allegations in paragraphs | through 45 above, as of set forth in full herein.

9 70. The Trustee is informed and believes and based thereon alleges that Defendants

10 Alper, Sato, Hilinski and the Nautic Defendants (without the Nautic Group).actively and

12 financial gain of Defendants Alper, Sato, Hilinski and Nautic Defendants.

13 71, The Trustee is informed and believes and based thereon alleges that despite

16 the Nautic Defendants (without the Nautic Group) abused their trust and confidence of the

18 the Debtor.

19 72. The Trustee is informed and believes and based thereon alleges that the above-

22 scheme by Defendants Alper, Sato, Hilinski and the Nautic Defendants (without the Nautic

23 Group).

24 73, As a further proximate result of the above-referenced Defendant’s aiding and
25 abetting of Defendants Alper. Sato, Hilinski and the Nautic Defendants (without the Nautic

26 Group) fraudulent scheme herein alleged, the Trustee, on behalf of the Debtor, incurred and

28 fraud including, but not limited to, review of state court proceedings, declarations and

15

knowingly participated in a fraudulent scheme that brought about the demise of the Debtor to the

having voluntarily accepted the trust and confidence of the Debtor with regard to operating its

business and looking after the best interests of the Debtor, Defendants Alper, Sato, Hilinski and

Debtor by creating and actively participating in a fraudulent scheme that brought the demise of

referenced Defendant knowingly and actively participated in the above-referenced fraudulent

scheme as well as providing substantial assistance to the additional participants of the fraudulent

continues to incur costs to investigate said claims for fraud and the facts bringing rise to the said

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document Page 16 of 25

depositions of Alper and Hilinski, the Debtor’s files and, further, to correspond with the above-
referenced Defendants concerning the allegations contained herein.

74. In doing the acts herein alleged, the above-referenced Defendants acted with
oppression, fraud, malice, and the ‘Trustee, on behalf of the Debtor, is entitled to exemplary

and/or punitive damages.

ELEVENTH CLAIM FOR RELIEF

(Por Neghgence Against Defendant Scott Hilinski Only)

75, The Trustee repeats and re-alleges and incorporates herein by reference the
allegations in paragraphs | through 25 above, as of set forth in full herein.

76. The Trustee is informed and believes and based thereon alleges that Defendant
Hilinski owed a duty to the Debtor to protect the Debtor from the fraudulent scheme that brought
the Debtor to its demise.

77. The Trustee is informed and believes and based thereon alleges that Defendant
failed to perform said duty as a outside director of the Debtor by knowingly and actively
participating in the fraudulent scheme and/or ailowing such a fraudulent scheme to precipitate
after gaining knowledge of said scheme.

78. The Trustee is informed and believes and based thereon alleges that as a result of
Defendant's breach of his duty to Debtor, the Debtor has been subject to litigation and injuries
that resulted in the demise of the Debtor.

79, ‘The Trustee is informed and believes and based thereon alleges that as a
proximate result of the above-referenced Defendant’s aforementioned Negligence, the Debtor
has been damaged in an amount according to proof at trial, but which amount is believed and

therefore alleged to be greater than $15 million dollars.

TWELFTH CLAIM FOR RELIEF

(For Declaratory Relief Against Defendants Northridge Medical Group, Inc. and Family/Seniors
Medical Group}

80. The Trustee repeats and re-alleges and incorporates herein by reference the
allegations in paragraphs | through 45 above, as of set forth in full herein.

16

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document Page 17 of 25

81. The Trustee is informed and believes and based thereon alleges that the above-
referenced Defendants filed and assert a Creditor claim against the Debtor’s Estate.

82. By reason of the foregoing, the Trustee contends that such claims or a portion
thereof are the equitable property of the Estate pursuant to Bankruptcy Code Section 541 (a).

83. The Trustee is informed and believes and based thereon alleges that the above-
referenced Defendants dispute this contention and contend they have a sole and exclusive right to
their claims.

84. A dispute now exists between the Trustee, on the one hand, and the above-
referenced Defendants, on the other hand, as to whether the Debtor is entitled to the Proceeds
and, therefore, the Proceeds are property of the Estate, or whether the Proceeds are the above-
referenced Defendants sole and exclusive property.

85. A judicial declaration is necessary and appropriate at this time, declaring that the
Proceeds or a portion thereof, held by the above-referenced Defendants, are the Debtor’s
property and therefore property of the Estate pursuant to Bankruptcy Code Section 541 (a).

WHEREFORE, the Trustee prays for Judgment against the Defendants as follows:

ON THE FIRST, SECOND, THIRD AND FOURTH CLAIMS FOR RELIEF

1. For a judgment that the Transfers, comprised of the delivery of the Proceeds, and
the execution of the bonuses paid to Alper and Sato, and each of them, are avoided as fraudulent
conveyances under Bankruptcy Code §§ 544(b), 548 and California Civil Code §§ 3439 .04(a)(1),
3439.04(a)(2), and 3439.05 and recovery therefore be awarded pursuant to 11 U.S.C. § 550(a), in

an amount of not less than $8 million.

ON THE FIFTH CLAIM FOR RELIEF

i, That the Avoidable Transfers be avoided.

ON THE SIXTH CAUSE OF ACTION

1. For a judgment that the Proceeds, or their respective value, be recovered for the
benefit of the Estate pursuant to Bankruptcy Code § 550.
17

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 18 of 25

ON THE SEVENTH CLAIM FOR RELIEF

bo

3 1. For a judgment that Defendants E4E, Alper, Sato, Hilinski and the Nautic

4 Defendants be required to turn over the Proceeds pursuant to Bankruptcy Code § 541(a).

ON THE EIGHTH CLAIM FOR RELIEF

6
7 1. For damages in the sum of not less than $15,000,000.00.
8 2. For exemplary damages.
9
10 ON THE NINTH CLAIM FOR RELIEF
i For damages in the sum of not less than $15,000,000.00.
12 For exemplary damages.
13 ON THE TENTH CLAIM FOR RELIEF
14 1. For damages in the sum of not less than $15,000,000.60.
15 2. For exemplary damages.
16
17 ON THE ELEVENTH CLAIM FOR RELIEF
18 1. For damages in the sum of not less than $15,000,000.00.
19
20 ON THE TWELFTH CLAIM FOR RELIEF
21 l. For a declaration that the Debtor has an interest in the Proceeds and, therefore, the

22 Proceeds are the property of the Estate.

23] fi
24 yi
25) si
26) ii
27 fil
28 1 ii

18

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document

ON ALL CLAIMS FOR RELIEF

Page 19 of 25

I. For attorneys’ fees;
2. For costs of suit incurred herein; and
3. For such other and further relief as the Court deems just and proper.

DATED: August #© , 2007

"| BRYTZKUS | GUBNER LLP

0 fF .

19

STEVEN T. GUBNER | “777
RICHARD BURSTEIN

BARAK VAUGHN

Attorneys for David R. Hagen,
Chapter 7 Trustee

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document.__ Page 20 of 25

Attorney or Party Name, Address, Telephone and Fax Number, and CA State Bar Number FOR COURT USE ONLY
RICHARD D. BURSTEIN (SBN 56661)
BARAK VAUGHN (SBN 227926)

EZRA | BRUTZKUS | GUBNER LLP

21650 Oxnard Street, Suite 506
Woodland Hills, California 91367
(818) 827-9009

FaxNo.; (818) 827-9099

BarNo 56661

Attomey for Plaintff David R. Hagen, Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

Inre: MERIDIAN HEALTH CARE MANAGEMENT, INC. CHAPTER 7
CASE NUMBER 1:06-bk-10733-GM

ADVERSARY NUMBER

Debtor.
David R. Hagen, Chapter 7 Trustee (The Boxes and Biank Lines befow are for the
a. Court's Use Only} (Do Not Filf Them in)
WS. Plaintiff(s),
NAUTIC PARTNERS, LLC, a Delaware Limited Liability Corporation, SUMMONS AND NOTICE OF
(see continuation page} STATUS CONFERENCE

Defendant(s).

TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. if you wish to defend yourself, you must file
with the Court a written pleading, in duplicate, in response to the Complaint. You must also send a copy of your written
response to the party shown in the upper left-hand corner of this page. Unless you have filed in duplicate and served a
responsive pleading by _ the Court may enter a judgment by default against you for the
relief demanded in the Complaint.

A Status Conference on the proceeding commenced by the Complaint has been set for:

Hearing Date: Time: Courtroom: Floor:
[|__| 255 East Temple Street, Los Angeles [|__| 411 West Fourth Street, Santa Ana
|] 21041 Burbank Boulevard, Woodland Hills |! 1415 State Street, Santa Barbara

|] 3420 Twelfth Street, Riverside

PLEASE TAKE NOTICE that if the trial of the proceeding is anticipated to take less than two {2} hours, the parties may
stipulate to conduct the trial of the case on the date specified, instead of holding a Status Conference. Such a stipulation
must be lodged with the Court at least two (2) Court days before the date set forth above and is subject to Court approval.
The Court may continue the trial to another date if necessary to accommodate the anticipated length of the trial.

JON D. CERETTO
Date of Issuance: Clerk of the Bankruptcy Court

By:

Deputy Clerk

This form is mandatory It has been approved for use by the United States Bankruptcy Court for the Central District of California.

Ravised December 1998 (COA-SA) F 7004-1

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc
Main Document Page 21 of 25

Summons and Notice of Status Conference
Form F 7004-1
Page 2
CONTINUATION PAGE RE: CAPTION
STEVEN T. GUBNER - State Bar No. 156593
RICHARD D. BURSTEIN - State Bar No. 56661

BARAK VAUGHN - State Bar No. 227926
EZRA | BRUTZKUS | GUBNER LLP
21650 Oxnard Street, Suite 500
Woodland Hills, California 91367
Telephone: (818) 827-9000

Facsimile: (818) 827-9099

Attorneys for David R. Hagen, Chapter 7 Trustee

Inre: MERIDIAN HEALTH CARE MANAGEMENT,
INC, a Delaware Corporation,

Debtor.
Tax ID: XX-XXXXXXX

DAVID R. HAGEN, Chapter 7 Trustee,

Plaintiff,
Vv.

NAUTIC PARTNERS, LLC, a Delaware Limited
Liability Corporation; CHISHOLM PARTNERS IV, LP;
a Delaware Limited Partnership; FLEET VENTURE
RESOURCES, INC.; a Delaware Limited Liability
Corporation; FLEET EQUITY PARTNERS VI LP;

a Delaware Limited Partnership; KENNEDY PLAZA
PARTNERS II, LLC; a Limited Liability Corporation;
SCOTT HILINSKI: a individual: BRIAN SATO,

an Individual; MICHAEL ALPER, an individual: E4€,
INCORPORATED; a Delaware Corporation;
FAMILY/SENIORS MEDICAL GROUP, a California
Professional Medical Corporation: INC.; NORTHRIDGE
MEDICAL GROUP, INC., a California Professional
Medical Corporation,

Defendants.

Ma ee ee et Nl ge i ee ee ee ee et ee ee ee ee et er ee”

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document = Page 22 of 25

Summons and Notice of Status Conference - Page Two (2) F 7004-1
Inte MERIDIAN HEALTH CARE MANAGEMENT, INC. CHAPTER 7
Debtor. | CASE NUMBER 31:06-bk-10733-
PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF Los Angeles
1. Lam employed inthe Countyof Los Angeles , State of California. | am over the age of 18 and

not a party to the within action. My business address is as follows: 21650 Oxnard Street, Suite 500, Woodland

Hills, CA 91367

2. [x | Regular Mail Service: On _ | served the foregoing Summons and Notice
of Status Conference (and any instructions attached thereto), together with the Complaint filed in this proceeding,
on the Defendant(s) at the following address(es) by placing a true and correct copy thereof in a sealed envelope
with pestage thereon fully prepaid in the United States Mail at Woodland Hills , California, addressed

as set forth below.

3. | .] Personal Service: On , personal service of the foregoing Summons and Notice
of Status Conference (and any instructions attached thereto}, together with the Complaint filed in this proceeding,

was made on the Defendant(s) at the address(es) set forth below.

4. Defendant(s} and address(es) upon which service was made:
(see attached page)

_x_| Names and Addresses continued on attached page

| declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

Dated:

Type Name Signature

This form is mandatory It has been approved for use by ihe United States Bankrupricy Court for the Central Distnct of California.

Revised December 1998 (COA-SA)

F 7004-1

Case 1:07-ap-01186-GM Doci1 Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

FORM 104 (10/06)

Main Document

Page 23 of 25

(Instructions on Reverse).

ADVERSARY PROCEEDING COVER SHEET

ADVERSARY PROCEEDING NUMBER
| {Count Use Only)
i

PLAINTIFFS
DAVID R. HAGEN, Chapter 7 Trustee

|
DEFENDANTS
NAUTIC PARTNERS, LLC, a Delaware Limited Liability
Corporation
(see Continuation page)

ATTORNEYS (Firm Name, Address, and Telephone No.}
RICHARD D. BURSTEIN (SBN 56661}
BARAK VAUGHN (SBN 227926}

EZRA | BRUTZKUS | GUBNER LLP
Woodland Hills, California 91367

ATTORNEYS (if Known)

(818) 827-3000
PARTY (Check One Box Only) PARTY (Check One Box Only)
' | Debtor | © U.S. Trustee/Bankruptcy Admin | i Debtor =. | US. Trustee/Bankruptey Admin
' Creditor . Other _...| Creditor =x | Other
x | Trustee | | Trustee

3439.04 (a
PRAUDUL ENT PRANSFERS PURSUANT TO 11 U.S.C. $548 et seq.
USC. § 530 et seq.

U.S.C. 550: 7. TURNOVER OF PROPERTY PURSUANT TO 11 U.S.C,
BREACIE OF FIDUCIARY DUTY; 10. AIDING AND ABETTING FRAUD: J 1, NEGLIGENCE: and 12. DECLARATORY RELIEF

CAUSE OF ACTION (WRITE 4 BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

LAVOIDANCE AND RECOVERY OF STATE LAW FRAUDULENT CONVEYANCES CALIFORNIA CODE CIVIL CODE §§ 3439.04(aj(1),
(2) and 3439.05; 2. AVOIDANCE OF FRAUDULEN] TRANSFERS PURSUANT TO —E1 U.S.C. $544 et seq.. 3. AVOTDANCE OF

4. AVOIDANCE OF FRAUDULENT TRANSFERS PURSUANT TO II

5. AVOIDANCE OF PREFERENTIAL TRANSFERS:6. FOR RECOVERY OF AVOIDED TRANSFERS PURSUANT TO It
8. BREACH OF FIDUCIARY DUTIES; 9. AIDING AND ABETTING

542;

- NATURE OF SUIT
(Number up to wa (5) boxes a ataeting with lead : cause of action as 1, first altemative cause as 2, gecond alternative cause as 3, efc.)

FRBP 7001{1} — Recovery of Money/Property
| _11-Recovery of money/property - §542 turnover of propery
| 12-Recovery of money/property - §547 preference
. 13-Recovery of money/property - §546 fraudulent transfer
14-Recovery of money/property - other

Po pe

FRBP 7001(2) — Validity, Priority or Extent of Lien
21-Validity. priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
: :31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) - Objection/Revocation of Discharge
41-Objection / revocation of discharge ~ §727(c),{d},(e)

FRBP 7001(5) —- Revocation of Confirmation

.51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
. 66-Dischargeability ~ §523(a}(1),(14),(14A) prionty tax claims
 62-Dischargeability - §523(a)(
actual fraud
_67-Dischargeability - §523(a}(4), fraud as fiduciary, embezzlement,

larceny (continued next column)

U

2), faise pretenses, false representation, _

FRBP 7001(6) — Dischargeability (continued)
| | 61-Dischargeabitity - §523(a)(5}, domestic support
| | 68-Dischargeabitity - §523(a)(6), willful and malicious injury
fe 1 63-Dischargeabiity - §523(a}(8}, student foan
| 64-Dischargeability - =225(aN'5) divorce/sep property settlement/decree
' §5-Dischargeabitity - other

FRBP 7601(7) - Injunctive Relief
| { 71-injunctive relief ~ reinstatement of stay
| | 72-tnjunctive relief - other

rRee 7001(8} Subordination of Claim or Interest
| 81-Subordination of claim or interest

FRBP 7001(9} Declaratory Judgment
| 5 | 91-Qeclaratory judgment

FRBP 7001(10) Determination of Removed Action
7 01-Oetermination of removed claim or cause

Other
. §S-SIPA Case -15 U.S.C. §§78aaa ef seg.

5 02-Other (e.g. other actions that would have been brought in state court
if unrelaied to bankruptcy case)

> Check if this case involves a substantive issue of state law

t | Check if this ig asserted to be a class action under FRCP 23

: Check if a jury trial is demanded in complaint

Demand $ 15 Miilion

Other Retief Sought

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES -

NAME OF DEBTOR
MERIDIAN HEALTH CARE MANAGEMENT. INC.

BANKRUPTCY CASE NO.
1:06-bk-]0733-GM

DISTRICT IN WHICH CASE 1S PENDING DIVISIONAL OFFICE
CENTRAL

SAN FERNANDO VALLEY

NAME OF JUDGE
HON, GERALDINE MUND

B1i04

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

FORM 104 (10/08), Page 2 Main Document Page 24 of 25

RELATED ADVERSARY PROCEEDING (IFANY} 9°: 4
PLAINTIFF DEFENDANT ADVERSARY PROCEEDING NO
David Hagen, Chapter 7 Trustee Nautic Partners LLC et al; AND Nautic Partners LLC et al i:07-ap-01049-GM_ & —1:07-ap-01050-GM
DISTRICT IN WHICH ADVERSARY 1S PENDING DIVISIONAL OFFICE NAME OF JUDGE
Central San Fernando Valley Hon. Geraldine Mund

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF) Corr Ex
August 7& 2007 RICHARD D. BURSTEIN (SBN 56661

INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists
of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor's discharge. if such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
Cover Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF
captures the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the iocal rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Parties. Give the names of the parties to the adversary proceeding exactly as they appear on the complaint. Give the
names and addresses of the attorneys if known.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. if the plaintiff is pro se, that is, not presented by
an attorney, the plaintiff must sign.

Case 1:07-ap-01186-GM Doci1_ Filed 08/20/07 Entered 08/20/07 16:54:38 Desc

Main Document

STEVEN T. GUBNER - State Bar No. 156593
RICHARD D. BURSTEIN - State Bar No. 56661

BARAK VAUGHN - State Bar No. 227926
EZRA | BRUTZKUS | GUBNER LLP
21650 Oxnard Street, Suite 500
Woodland Hills, California 91367
Telephone: (818) 827-9000

Facsimile: (818) 827-9099

Attorneys for David R. Hagen, Chapter 7 Trustee

Inre: MERIDIAN HEALTH CARE MANAGEMENT,

INC, a Delaware Corporation,

Debtor.
Tax ID: XX-XXXXXXX

DAVID R. HAGEN, Chapter 7 Trustee,

Plaintiff,
Vv.

NAUTIC PARTNERS, LLC, a Delaware Limited

Liability Corporation; CHISHOLM PARTNERS [V, LP;

a Delaware Limited Partnership; FLEET VENTURE
RESOURCES, INC.; a Delaware Limited Liability
Corporation; FLEET EQUITY PARTNERS VI LP;

a Delaware Limited Partnership; KENNEDY PLAZA
PARTNERS li, LLC: a Limited Liability Corporation;
SCOTT HILINSKI: a Individual; BRIAN SATO,

an Individual; MICHAEL ALPER, an Individual; E4E,
INCORPORATED: a Delaware Corporation;
FAMILY/SENIORS MEDICAL GROUP, a California

Professional Medical Corporation; INC.; NORTHRIDGE

MEDICAL GROUP, INC., a California Professional
Medical Corporation,

Defendants.

Page 25 of 25

Adversary Proceeding Sheet

Form B-104

Page 2

CONTINUATION PAGE RE: CAPTION

Tt ee nt ee ee en el et et nt! ae a Meee pet ae ee Se eet ee ee ee

